       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 1 of 7 PageID #:1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

U.S. EQUAL EMPLOYMENT                               )
OPPORTUNITY COMMISSION,                             )
                                                    )
              Plaintiff,                            )      CIVIL ACTION NO.
          v.                                        )
S & C ELECTRIC CO.,                                 )      JURY TRIAL DEMAND
                                                    )
                      Defendant.                    )
                                                    )
________________________________________


                               NATURE OF THE ACTION


       This is an action under Title I of the Americans with Disabilities Act of 1990 (“ADA”),

Title I of the Civil Rights Act of 1991, and the Age Discrimination in Employment Act of 1967

(“ADEA”) to correct unlawful employment practices on the bases of disability and/or age and to

provide appropriate relief to Richard Rascher. As alleged with greater particularity in paragraphs

13 and 14 below, Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC” or the

“Commission”) alleges that Defendant, S & C Electric Co. (“Defendant,” “S&C,” or “the

Employer”), violated the ADA and/or the ADEA by discharging Rascher on the bases of

disability and age.

                                 JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to:

               (a) Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by

       reference Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title



                                                1
       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 2 of 7 PageID #:2




       VII”), 42 U.S.C.§ 2000e-5(f)(1) and (3), and pursuant to Section 102 of the Civil Rights

       Act of 1991, 42 U.S.C. § 1981a; and

               (b) Section 7(b) of the ADEA, as amended, 29 U.S.C. § 626(b), which

       incorporates by reference Sections 16(c) and Section 17 of the Fair Labor Standards Act

       of 1938 (the “FLSA”), as amended, 29 U.S.C. §§ 216(c) and 217.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the District of Northern Illinois.

                                              PARTIES

       3.      Plaintiff, the U.S. Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the administration,

interpretation and enforcement of Title I of the ADA and the ADEA and is expressly authorized

to bring this action by:

               (a) Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by

       reference Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1); and

               (b) Section 7(b) of the ADEA, 29 U.S.C. § 626(b), as amended by Section 2 of

       Reorganization Plan No. 1 of 1978, 92 Stat. 3781, and by Public Law 98-532 (1984), 98

       Stat. 2705.

       4.      At all relevant times, Defendant, S & C Electric Co. has continuously been doing

business in the State of Illinois and the City of Chicago, and has continuously had at least 20

employees.

       5.      At all relevant times, Defendant Employer has continuously been an employer

engaged in an industry affecting commerce under Sections 101(5) and 101(7) of the ADA, 42




                                                  2
       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 3 of 7 PageID #:3




U.S.C.§§ 12111(5), (7), and under Sections 11(b), (g) and (h) of the ADEA, 29 U.S.C. §§

630(b), (g) and (h).

       6.      At all relevant times, Defendant Employer has been a covered entity under

Section 101(2) of the ADA, 42 U.S.C. § 12111(2).

                              ADMINISTRATIVE PROCEDURES

       7.      More than thirty days prior to the institution of this lawsuit, Richard Rascher filed

a charge with the Commission alleging violations of the ADA and the ADEA by Defendant

Employer.

       8.      On August 7, 2017, the Commission issued to Defendant Employer a Letter of

Determination finding reasonable cause to believe that the ADA and the ADEA were violated

and inviting Defendant to join with the Commission in informal methods of conciliation to

endeavor to eliminate the unlawful employment practices and provide appropriate relief.

       9.      The Commission engaged in communications with Defendant to provide

Defendant the opportunity to remedy the discriminatory practices described in the Letter of

Determination.

       10.     On August 28, 2017, the Commission issued to Defendant Employer a Notice of

Failure of Conciliation advising Defendant that the Commission was unable to secure from

Defendant a conciliation agreement acceptable to the Commission.

       11.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                                       STATEMENT OF CLAIMS

       12.     Rascher worked for Defendant Employer for approximately 52 years. His last

position with Defendant Employer was as a senior principle designer.




                                                 3
       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 4 of 7 PageID #:4




       13.     Since at least September 2015, Defendant Employer has engaged in unlawful

employment practices at its Chicago, Illinois facility, in violation of Section 102(a) of Title I of

the ADA, 42 U.S.C. § 12112(a):

               (a) Rascher is a qualified individual with a disability under Sections 3 and 101(8)

       of the ADA, 42 U.S.C. §§ 12102 and 12111(8). Rascher has impairments, melanoma,

       rectal cancer and/or a fractured hip, that substantially limit his major life activities

       including normal cell growth, and his ability to walk and care for himself; or Rascher has

       a record of impairments, melanoma, rectal cancer, and/or a fractured hip, that

       substantially limit major life activities including his normal cell growth, and his ability to

       walk and care for himself; or Defendant Employer regarded Rascher as having a

       disability by subjecting him to an adverse action, termination, because of actual or

       perceived impairments, melanoma, rectal cancer, and/or a fractured hip.

               (b) In or around September 2015, Defendant Employer discharged Rascher on the

       basis of disability.

       14.     Since at least September 2015, Defendant Employer has engaged in unlawful

employment practices at its Chicago, Illinois facility, in violation of Section 4(a)(1) of the

ADEA, 29 U.S.C. § 623(a)(1), when it fired Rascher, who was in the protected age group (age

74) defined in the ADEA, Section 12, 29 U.S.C. § 631, from his position because it considered

him too old for his job.

       15.     The effect of the practices complained of in paragraph 13 above has been to

deprive Rascher of equal employment opportunities and otherwise adversely affect his status as

an employee on the basis of disability.




                                                  4
       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 5 of 7 PageID #:5




       16.     The effect of the practices complained of in paragraph 14 above has been to

deprive Rascher of equal employment opportunities and otherwise adversely affect his status as

an employee because of his age.

       17.     The unlawful employment practices complained of in paragraphs 13 and 14 above

were intentional.

       18.     The unlawful employment practices complained of in paragraph 14 above was

willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

       19.     The unlawful employment practices complained of in paragraph 13 above was

done with malice or with reckless indifference to the federally protected rights of Rascher.

                                      PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant Employer, its officers, agents,

servants, employees, attorneys, and all persons in active concert or participation with it, from

engaging in employment practices which discriminate against individuals 40 years of age and

older by terminating their employment because of age.

       B.      Grant a permanent injunction enjoining Defendant Employer, its officers, agents,

servants, employees, and attorneys, and all persons in active concert or participation with them,

from limiting, segregating, or classifying any employee in any way which would deprive, or tend

to deprive, that employee of employment opportunities or otherwise adversely affect his status as

an employee on the basis of disability; from engaging in any employment practice which

discriminates on the basis of disability; and which eradicate the effects of its past and present

unlawful employment practices.




                                                  5
       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 6 of 7 PageID #:6




       C.      Order Defendant Employer to institute and carry out policies, practices, and

programs which provide equal employment opportunities for individuals 40 years of age and

older, and which eradicate the effects of its past and present unlawful employment practices.

       D.      Order Defendant Employer to institute and carry out policies, practices, and

programs which provide equal employment opportunities for qualified individuals with

disabilities, and which eradicate the effects of its past and present unlawful employment

practices.

       E.      Order Defendant Employer to make Rascher whole by providing appropriate back

wages, including lost benefits, in an amount to be determined at trial, an equal sum as liquidated

damages, and pre-judgment interest, and other affirmative relief necessary to eradicate the effects

of its unlawful employment practices, including but not limited to, reinstatement or front pay in

lieu of reinstatement.

       F.      Order Defendant Employer to make Rascher whole by providing compensation

for past and future pecuniary losses resulting from the unlawful employment practices described

in paragraph 13 above, including, but not limited to, out-of-pocket medical expenses, in amounts

to be determined at trial.

       G.      Order Defendant Employer to make Rascher whole by providing compensation

for past and future nonpecuniary losses resulting from the unlawful practices complained of in

paragraph 13 above, including such as emotional pain, suffering, inconvenience, loss of

enjoyment of life, and humiliation, in amounts to be determined at trial.

       H.      Order Defendant Employer to pay Rascher punitive damages for its malicious and

reckless conduct, as described in paragraph 13 above, in amounts to be determined at trial.




                                                 6
       Case: 1:17-cv-06753 Document #: 1 Filed: 09/19/17 Page 7 of 7 PageID #:7




        I.     Grant such further relief as the Court deems necessary and proper in the public

interest.

        J.     Award the Commission its costs of this action.

                                    JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint.

                                                     James Lee
                                                     Deputy General Counsel

                                                     Gwendolyn Young-Reams
                                                     Associate General Counsel

                                                     Equal Employment Opportunity
                                                     Commission
                                                     131 M St. NE
                                                     Washington, DC 20507

                                                     s/ Gregory M. Gochanour
                                                     Greg Gochanour
                                                     Regional Attorney

                                                     s/ Diane I. Smason
                                                     Diane Smason
                                                     Supervisory Trial Attorney

                                                     s/ Miles Shultz
                                                     Miles Shultz
                                                     Trial Attorney

                                                     s/ Richard Mrizek
                                                     Richard Mrizek
                                                     Trial Attorney

                                                     Equal Employment
                                                      Opportunity Commission
                                                     Chicago District Office
                                                     500 W. Madison St.
                                                     Suite 2000
                                                     Chicago, IL 60661
                                                     312-869-8053



                                                 7
